                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA,                       No. 4:23-CR-00163

         v.                                         (Chief Judge Brann)

    JEREMY PAULEY,

               Defendant.


                            MEMORANDUM OPINION

                                   AUGUST 26, 2024

        The issue presented by Defendant Jeremy Pauley’s pending Motion in Limine

is a narrow one: Whether United States Sentencing Guideline § 2B1.1(b)(1), which

imposes sentence enhancements for basic economic offenses in accordance with the

monetary loss of the victims of the offense, applies in this case. Resolution of

Pauley’s Motion will not decide his punishment or be the final word as to how the

impact of Pauley’s crimes on the victims will factor into that punishment. Regarding

the latter, for the reasons explained herein, § 2B1.1(b)(1) will not factor into that

analysis. As this Court has observed, “[t]he law does not always align with what one

may believe is right, just, or fair.”1 While one might believe that a sentencing

enhancement based upon the value of the stolen body parts is appropriate, that is not

the law. Pauley’s Motion is granted.




1
     Reiner v. Northumberland Cnty., No. 4:24-CV-00493, 2024 WL 2216852, at *1 (M.D. Pa.
     May 15, 2024).
I.      FACTUAL BACKGROUND

        During the relevant period, The University of Arkansas for Medical Sciences

maintained an anatomy lab which received cadavers through an Anatomical Gift

Program through which donors could gift their body after death to be used by UAMS

for medical education and research.2 Harvard Medical School similarly utilized

donated human cadavers in the regular course of medical education, teaching, and

research.3 After use, donated cadavers were to be cremated and then returned to the

schools or the donee’s families for final disposition.4

        Instead, Cedric Lodge, the manager of the Harvard Medical School morgue,

and Candace Chapman Scott, an employee of a mortuary which contracted with

UAMS, stole dissected portions of the donated cadavers.5 Lodge and Scott then sold

the remains, which included “bones, skulls, skin, dissected faces and heads, internal

organs . . . including brains, lungs, and others, and whole stillborn corpses” to their

co-conspirators, including Pauley.6 Pauley then re-sold those human remains to

buyers in various states, or traded those remains for other human remains.7

        Katarina Maclean, who, along with Joshua Taylor, had been granted access to

the Harvard morgue by Lodge for the purpose of choosing remains for purchase,


2
     Information, Doc. 1, at ¶ 13.
3
     Id. ¶ 21.
4
     Id. ¶¶ 14-15, 23.
5
     Id. ¶¶ 5-8, 32, 38.
6
     Id. ¶¶ 31-38.
7
     Id. ¶ 40.

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engaged Pauley to “tan” human skin to create leather.8 Scott frequently corresponded

with Pauley, who in turn corresponded with Matthew Lampi, regarding the sale of

various body parts that were available for sale.9 Among them were the remains of a

still-born baby boy, which Scott sold to Pauley for $300 rather than cremating and

returning the cremains to the boy’s mother.10

         In its Presentence Report, the Probation Office conservatively estimated that

Pauley had sent almost $60,000 to Taylor, Scott, and Maclean to purchase stolen

human remains.11 The Government’s investigation revealed that Pauley’s

“expenditures,” that is the amount he paid for human remains, reached nearly

$472,000 over a multi-year period.12 In an interview with the FBI, Pauley reported

that he had earned approximately $180,000 selling human remains through the first

half of 2022.13

II.      PROCEDURAL BACKGROUND

         On September 7, 2023, this Court accepted Pauley’s guilty plea to a two-

count Information charging him with Conspiracy to Commit Interstate

Transportation of Stolen Property in violation of 18 U.S.C. § 371 (Count I) and

Interstate Transportation of Stolen Property in violation of 18 U.S.C. § 2314 (Count


8
      Id. ¶¶ 35, 42.
9
      Id. ¶¶ 47-101.
10
      Id. ¶¶ 83-86.
11
      Sealed Doc. 31, ¶ 44.
12
      Doc. 35, at 5.
13
      Doc. 35-1, at 2.

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II).14 Upon accepting Pauley’s guilty plea, the Court ordered the United States

Probation Office to conduct a presentence investigation and prepare a presentence

report.15 On January 19, 2024, the Probation Office filed its Draft Presentence

Report.16 After several extensions to the deadline to raise objections to the

Presentence Report,17 Pauley asked the Court to weigh in on a matter of statutory

interpretation: Whether, and if so, to what extent, a sentencing enhancement is

appropriate in this case under USSG § 2B1.1(b)(1).18

        While the Government disagrees with Pauley’s position that § 2B1.1(b)(1) is

inapplicable, the Government concurred with Pauley’s request for a pre-sentencing

determination on the issue.19 Accordingly, the Court requested that the parties brief

Pauley’s pending Motion in Limine and scheduled oral argument. In its Order setting

a briefing and argument schedule, the Court instructed the parties to limit their

discussion to the narrow issue presented by Pauley’s Motion; argument and

advocacy regarding other sentencing matters are to be presented as they would in

the ordinary course.20




14
     Information, Doc. 1; Guilty Plea, Doc. 16.
15
     Doc. 18.
16
     Sealed Doc. 21.
17
     Docs. 22-28.
18
     Mot., Doc. 29.
19
     Certificate of Nonconcurrence, Doc. 29-1.
20
     June 12, 2024 Ord., Doc. 30. The Court also continued the deadline to object to the Presentence
     Report to a date to be determined following resolution of the pending Motion.

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        The parties filed their briefs and oral argument was held on August 6, 2024.21

Pauley’s Motion is ripe for disposition and, for the reasons below, it is granted.

III.    LEGAL STANDARD

        Interpretation of the United States Sentencing Guidelines is guided by

principles of administrative law.22 In Stinson v. United States,23 the United States

Supreme Court held that, in interpreting the Guidelines, courts should give deference

to the accompanying commentary “unless they are plainly erroneous or inconsistent”

with the Guideline.24 Following Stinson then, courts’ interpretation of the Guidelines

“was informed by the then-prevailing understanding of the deference”—so-called

Seminole Rock25 or Auer26 deference—“that should be given to agency

interpretations of their own regulations.”27

        In Kisor v. Wilkie, the Supreme Court “cut back on what had been understood

to be uncritical and broad deference to agency interpretations and explained that

Auer, or Seminole Rock, deference should only be applied when a regulation is

genuinely ambiguous.”28 “Kisor instructs that ‘a court must carefully consider the

text, structure, history, and purpose of a regulation, in all the ways it would if it had



21
     Br. Supp., Doc. 34; Opp’n, Doc. 35; Reply, Doc. 36.
22
     United States v. Nasir, 17 F.4th 459, 469 (3d Cir. 2021) (en banc).
23
     508 U.S. 36 (1993).
24
     Nasir, 17 F.4th at 470 (quoting Stinson, 508 U.S. at 44).
25
     35 U.S. 410 (1945).
26
     519 U.S. 452 (1997).
27
     Nasir, 17 F.4th at 470.
28
     Id. (citing Kisor v. Wilkie, 139 S. Ct. 2400, 2414-15 (2019)).

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no agency to fall back on. Doing so will resolve many seeming ambiguities out of

the box, without resort to Auer deference.’”29

        In United States v. Nasir,30 the United States Court of Appeals for the Third

Circuit “sat en banc and unanimously concluded that this reprised standard for Auer

deference applied to the Sentencing Commission’s interpretative commentary” of

the sentencing Guidelines.31 As Judge Bibas put it, “[i]n Kisor, the Supreme Court

awoke us from our slumber of reflexive deference” to the commentary.32

        Following Kisor and Nasir, “before concluding that a [sentencing Guideline]

is genuinely ambiguous, a court must exhaust all the ‘traditional rules’ of

construction.”33 “Unless the Guideline’s text is ambiguous and the comment

provides clarity, the text alone controls.”34 Further, pre-Nasir precedent “that had

afforded Auer deference to the Commission’s interpretive commentary without

engaging in the Kisor process does not automatically retrain its controlling force.”35

When genuine ambiguity exists, a court must then “make an ‘independent inquiry’

into the ‘character and context’ of the reasonable interpretations” of the Guideline

before affording deference to the commentary.36



29
     Id. (quoting Kisor, 139 S. Ct. at 2415).
30
     17 F.4th 459 (3d Cir. 2021).
31
     United States v. Banks, 55 F.4th 246, 256 (3d Cir. 2022) (citing Nasir, 17 F.4th at 470-71).
32
     Nasir, 17 F.4th at 472 (Bibas, J., concurring).
33
     Kisor, 139 S. Ct. at 2415; accord Nasir, 17 F.4th at 470.
34
     U.S. v. Chandler, 104 F.4th 445, 450 (3d Cir. 2024) (citing Nasir, 17 F4th at 471).
35
     United States v. Adair, 38 F.4th 341, 350 (3d Cir. 2022).
36
     Id. (quoting Kisor, 139 S. Ct. at 2416).

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IV.     DISCUSSION

        United States Sentencing Guideline § 2B1.1 provides “a graduated scale based

upon the monetary amount of loss”37 and instructs “[i]f the loss exceeded $6,500,

increase the offense level” in accordance with that scale.38 At issue here is the

meaning of the word “loss” as used in § 2B1.1. Pauley insists that the Guideline is

unambiguous. He argues that, because “loss” includes only pecuniary losses and no

victim suffered a pecuniary loss, the Guideline does not apply. The Government

urges the Court to find ambiguity in § 2B1.1 and rely on the procedure outlined in

the commentary for calculating the loss.

        Evaluating the parties’, in particular the Government’s, arguments, one is

reminded of the saying, “when the law is on your side, argue the law, when the facts

are on your side, argue the facts, and when neither are on your side, pound on the

table.” The Government need not, of course, resort to table-pounding; the facts are

unquestionably on its side. However, that the Government’s brief is heavy on facts

and light on caselaw highlights that the law is not. As explained below, whether the

Court finds ambiguity in the Guideline or not, the outcome is the same: The loss

suffered by the victims of Pauley’s conduct does not fall within § 2B1.1.




37
     Banks, 55 F.4th at 257.
38
     USSG § 2B1.1(b)(1).

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        A.      Loss as Unambiguous

        In United States v. Banks,39 the Third Circuit, post-Nasir, examined the

language at issue here, albeit in a different context, and held that it was not

ambiguous. The defendant in Banks had been convicted of wire fraud in connection

with an attempted scheme to make fraudulent deposits into investment accounts, and

then withdraw funds before the lack of supporting funds could be detected.40 The

scheme was unsuccessful; the relevant financial institution never transferred a single

dollar to the defendant and, as a result, suffered no actual loss. At sentencing, the

District Court imposed an enhancement under § 2B1.1 on the basis that the Guideline

included not only actual loss but intended loss as well. The Third Circuit reversed,

concluding that “in the context of a sentence enhancement for basic economic

offenses, the ordinary meaning of the word ‘loss’ is the loss the victim actually

suffered.”41

        Pauley insists that Banks’ holding that the word “loss” as used in § 2B1.1

means “actual loss” dictates the outcome in this case.42 The Government argues that

Banks is distinguishable because it dealt with an attempted, but unsuccessful scheme

whereas Pauley succeeded in enriching himself through the offense conduct.43 Both



39
     55 F.4th 246, 256 (3d Cir. 2022).
40
     Id. at 250-51.
41
     Id. at 258.
42
     Doc. 34, Section II.A.
43
     Doc. 35, at 7.

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arguments miss the mark. The Court agrees with Pauley that Banks, which conducts

an analysis of the same term at issue in this case, is instructive. However, Banks did

not go so far as to explicitly decide the issue of what kinds of “actual losses” fall

within the ambit of § 2B1.1. While the Government is correct that this case presents

a different analysis than that in Banks, the inquiry at the core of both cases is the

same: “the ordinary meaning of the word ‘loss’” “in the context of a sentence

enhancement for basic economic offenses.”44

        The Government suggests that, in conducting that inquiry, “this Court should

find the term ‘loss’ presents a ‘genuine ambiguity’ in the context of this case.”45

However, the inquiry is whether “loss” presents a genuine ambiguity in the context

of the Guideline, not in the context of the offense.46 Reading Banks as the

Government does would mean that the Third Circuit held only that “loss” meant

“actual loss” in the context of the offense at issue in that case. But, as the

Government agreed at oral argument, the meaning of the sentencing Guidelines is

fixed—if the offense conduct does not fit the sentencing enhancement, then the

enhancement does not apply.47




44
     Banks, 55 F.4th at 258.
45
     Doc. 35, at 17.
46
     Banks, 55 F.4th at 258.
47
     Arg. Tr. 22:5-14. The Government went on to argue that the enhancement does fit the crime,
     which is a different matter.

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        The Court begins, as instructed by Nasir, with the text of the Guideline which

does not specifically define the term “loss.” Because “loss” is not a term of art, it

takes on its “ordinary, contemporary, common meaning.”48 To discern the common

ordinary meaning of the word ‘loss,’ Banks began by looking to contemporary

dictionaries.49

        That brings the Court to the Government’s next argument: Noting that Banks

includes in the potential definitions of ‘loss’ “a person or thing or an amount that is

lost”50 and reasoning that the body parts at issue are either “a person or thing,” the

Government concludes that the victims of the theft of the body parts suffered a loss.51

Just as is the case in determining the meaning of a word used in the Guideline,

context matters. The context of the Third Circuit’s reference to “a person or thing”

as a potential definition of loss is a compilation of dictionary definitions of loss.52

“[W]hile providing guidance, dictionaries do not create precedent.”53 Rather than

simply inserting dictionary definitions into the Guidelines, the Court views those

definitions in the context of the Guideline.54 The Banks court did not need to decide

“whether one clear meaning of the word ‘loss’ emerges broadly” because “[n]one of


48
     Adair, 38 F.4th at 350 (quoting Perrin v. United States, 444 U.S. 37, 42 (1979)).
49
     See id. at 351; Banks, 55 F.4th at 257-58.
50
     Banks, 55 F.4th at 258.
51
     Doc. 35, at 14.,
52
     Banks, 55 F.4th at 257-58.
53
     Chandler, 104 F.4th at 451.
54
     See Adair, 38 F.4th at 351 (dictionary definitions remaining after “contextually inappropriate”
     definitions are excluded “provide a foundation” for the meaning of a term as used in the
     Guideline).

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the[] definitions suggest an ordinary understanding that ‘loss’ means ‘intended

loss.’”55 Therefore, it stopped short of determining what losses are included under §

2B1.1.

        To answer that question, this Court picks up where Banks left off and

considers the text, structure, and purpose of the Guideline to see “whether one clear

meaning of the word ‘loss’ emerges.”56 As the Third Circuit observed, § 2B1.1

“provides a graduated scale based on the monetary amount of loss. As the victim’s

monetary loss grows, so too does the enhancement to the defendant’s offense

level.”57

        Further, § 2B1.1’s text provides no guidance for “translat[ing] [non-monetary]

losses to dollar values to apply the table in USSG § 2B1.1(b)(1)” as the Government

suggests.58 The Government, pointing to the commentary, offers that the Court

simply determine the value of the stolen goods. This argument fails for three reasons.

        First, the Government’s reliance on the commentary’s notes is misplaced.

Because “we simply disregard the commentary” if the Guideline is unambiguous,

the Court cannot look to the commentary for guidance on calculating a loss unless




55
     Banks, 55 F.4th at 258.
56
     Id.
57
     Id. at 257 (emphasis added).
58
     Doc. 35, at 8.

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the Court first determines that the meaning of the word “loss” as used in § 2B1.1 is

ambiguous.59

        Second, while the value of the stolen goods will often closely approximate a

theft victim’s loss, value and loss are not the same thing, a distinction illustrated by

another section of the Guidelines which incorporates the table in § 2B1.1.60

        Third, in this case the value of the goods is determined, not by their value to

the victims, but their value to Pauley. This conflates the victim’s loss with Pauley’s

gain. Gain and loss are antonyms and, if the Sentencing Commission meant to devise

an enhancement which increased an offense level based on the defendant’s gain, it

could have done so, just as it did in another subsection of § 2B1.161 or in another

section of the Sentencing Guidelines which incorporates the table in § 2B1.1.62

        The statements of the victims themselves confirm the unsuitability of § 2B1.1

for punishing the loss caused by Pauley. Several victims submitted to Probation a


59
     U.S. v. Mercado, 81 F.4th 352, 356 (3d Cir. 2023). See also U.S. v. Sater, No. 22-1621, 2023
     WL 3734962, at *4 (3d Cir. May 31, 2023) (“[T]he commentary may only be consulted after
     a district court determines that the Guideline itself is genuinely ambiguous.”); Arg. Tr. 28:12-
     25 (Government agreeing that the Court cannot look to the commentary to value the loss if the
     term loss is not ambiguous).
     It could perhaps be argued that the lack of guidance regarding calculating a loss renders §
     2B1.1 ambiguous. However, as discussed below, finding ambiguity in § 2B1.1 does not change
     the outcome.
60
     See USSG § 2B1.5(b)(1)(B) (“If the value of the cultural heritage resource or paleontological
     resource . . . exceeded $6,500, increase by the number of levels from the table in § 2B1.1.”)
     (emphasis added).
61
     See USSG § 2B1.1(b)(17)(A) (applying a two-level enhancement if “the defendant derived
     more than $1,000,000 in gross receipts from one or more financial institutions as a result of
     the offense”).
62
     See USSG § 2B1.4(b)(1) (“If the gain resulting from the offense exceeded $6,500, increase by
     the number of levels from the table in § 2B1.1.”) (emphasis added).

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“Declaration of Victim Losses.” One victim requests restitution in the amount of one

billion dollars on the basis that the “harm done is priceless.”63 The victim states that

she suffered “no financial harm but the psychological harm is at times unbearable.”64

Multiple victims, similarly unable to quantify the monetary value of the harm they

have suffered, simply put a question mark in the space for the amount of restitution

they believe they are entitled.65

         To accept the Government’s position and answer those question marks with

the amount of Pauley’s profits would be to equate the loss suffered by the next of

kin of the decedents with the value Pauley saw in the decedents’ remains. The Court

is unwilling to follow the Government down that path. Nor are Pauley’s profits a

reasonable estimation of any monetary loss suffered by the medical schools. The

schools had no further economic interest in the remains which were stolen then

bought and sold by Pauley and his coconspirators.

         The Court also cannot overlook that, in Banks, the Third Circuit took for

granted that “loss” as used in § 2B1.1 means monetary loss. When Banks “begin[s]

with the plain text of § 2B1.1,” it states that it “provides a graduated scale based on

the monetary amount of loss. As the victim’s monetary loss grows, so too does the



63
     Sealed Doc. 31, at 29.
64
     Id. See also id. at 63 (requesting $1 million in restitution on the basis that the “loss and distress”
     caused by Pauley is “unforgiveable”), 66 (requesting $1 million in restitution due to “mental
     anguish, loss of sleep, anxiety, sadness, inability to concentrate”).
65
     Id. at 27, 28.

                                                    13
enhancement to the defendant’s offense level[.]”66 Observing that “in context, ‘loss’

could mean pecuniary or non-pecuniary loss and could mean actual or intended

loss,” the Banks court held that § 2B1.1 applied only to actual loss.67 Read in context,

this sentence does not suggest that, as the Government asserts, loss in the context of

§ 2B1.1 could mean pecuniary or non-pecuniary losses.68 Rather, the best reading is

that, while “loss could mean pecuniary or non-pecuniary loss and could mean actual

or intended loss,” in the context of § 2B1.1, just as loss only means pecuniary loss,

it also only means actual loss. Thus, § 2B1.1’s text and structure point to a meaning

of loss that includes only monetary loss.

        The Government insists that accepting Pauley’s position “lead[s] to an absurd

result[:] No matter how many or how few body parts Pauley and his coconspirators

stole and sold, and no matter how many hundreds of thousands of dollars they

profited from those thefts, the Guidelines range would never change.”69 That, the

Government asserts, “simply cannot be correct, because it could lead to a defendant

who stole a single body part and sold it for a small profit to face the same Guideline

range” as a defendant who profited hundreds of thousands of dollars.” It seems, then,

that to limit “loss” to monetary loss would frustrate the Guideline’s purpose of

imposing harsher punishments for more serious offenses.


66
     Banks, 55 F.4th at 256.
67
     Id. at 258.
68
     Doc. 35, at 17.
69
     Id. at 13.

                                            14
        However, the same could be said of the holding in Banks. There, the

defendant’s scheme, if successful, would have resulted in a 12-level enhancement

under § 2B1.1.70 But, because the enhancement does not include intended losses, the

Guideline range is the same for the defendant in Banks as for defendants who

unsuccessfully attempt similar schemes on much smaller or larger scales. Whereas

a defendant whose offense conduct results in an actual loss of more than

$550,000,000 would receive a 30-level increase, a defendant who intended such a

loss receives the same Guideline range as a defendant who intended only a nominal

loss.71 Insofar as the Guidelines fail to measure the relative culpability of such

defendants, the solution is to vary or depart from the Guideline range as properly

calculated within the confines of the law, not to depart from the law altogether.72




70
     Banks, 55 F.4th at 253.
71
     USSG § 2B1.1(b)(1).
72
     See 18 U.S.C. § 3553(a)(6) (instructing courts to consider, in addition to the calculated
     Guideline range, “the need to avoid unwarranted sentence disparities”); Banks, 58, F.4th at
     258, n.58 (“Our holding should not be read as imposing any restriction on a district court’s
     discretion to vary a sentence when appropriate.”); U.S. v. Khan, No. 22-1906, 2023 WL
     2609819, at *3 (3d Cir. Mar. 23, 2023) (affirming upward variance which “capture[d] the
     ‘spirit’ of [an] enhancement” that was justified on the facts of the case, despite the enhancement
     not applying on its face).
     The Court notes that, in Banks, the Honorable Mark. R. Hornak imposed the same sentence on
     remand. Am. J., United States v. Banks, No. 2:15-CR-168, Doc. 1612 (W.D.Pa. May 2, 2023).
     Banks’ appeal of that sentence is currently pending before the Third Circuit. United States v.
     Banks, No. 23-1832 (3d Cir.). Also, in United States v. Fisher, the Third Circuit affirmed a
     sentence where the district court “adopted the . . . incorrect definition of ‘loss’” but also
     provided an “alternate ruling” that the defendant’s “case would nonetheless ‘clearly’ warrant
     an upward departure.” No. 22-1575, 2024 WL 277704, at *2 (3d Cir. Jan. 25, 2024).

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        The same considerations alleviate any concerns raised by the Government’s

hypothetical theft of rare artifacts from a museum or similar crimes.73 The

Government suggests that to accept Pauley’s argument would be to hold that

defendants in the hypothesized museum theft would not be subject to § 2B1.1.

Assuming that the Government is correct, the sentencing court in such cases would

still have the ability, if not the obligation, to consider the nature of the offense and

vary or depart from the Guidelines as necessary.74

        In accordance with the above, the Court concludes that, in the context of §

2B1.1, “loss” unambiguously means monetary, or pecuniary loss. Therefore,

Pauley’s motion will be granted, and his objection sustained.

        B.      Loss as Ambiguous

        Even if the Court concluded § 2B1.1 could be read differently—the word

“loss” as used in the Guideline is ambiguous—it would not change the outcome.

        Despite asking the Court to find ambiguity in § 2B1.1, the Government does

not substantively discuss whether the commentary is “reasonable” as required by

Nasir and its progeny.75 In fact, the Government does not discuss the application

notes which define loss as used in § 2B1.1(b)(1) at all.


73
     Doc. 35, at 9 n.1
74
     The hypothesized museum theft is not before the Court, so the Court need not resolve the issue
     it presents. Nevertheless, the Court notes that such offenses would likely result in readily
     identifiable pecuniary losses, such as insurance losses, losses of investment in the relevant
     stolen good, deceases in net worth, or losses of revenue.
75
     Mercado, 81 F.4th at 359 (citing Banks, 55 F.4th at 253; Nasir, 17 F.4th at 471).

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        The commentary defines “actual loss” as “the reasonably foreseeable

pecuniary harm that resulted from the offense.”76 It further defines “pecuniary harm”

as “harm that is monetary or that otherwise is readily measurable in money.”77

“Accordingly, pecuniary harm does not include emotional distress, harm to

reputation, or other non-economic harm.”78 The Court finds that the commentary

does not “improperly expand[] the Guideline”79 and remains within “the outer

bounds of permissible interpretation.”80 Also, as the Third Circuit has recognized,

the Sentencing Commission is “‘optimally positioned to opine’ on criminal

sentencing due to its ‘expertise.’”81 Therefore, the commentary’s interpretation of

“loss” is reasonable.

        The Government does not meaningfully argue that any victim here suffered

an actual, pecuniary loss as defined by the commentary. On the contrary, the

Government concedes that the victims have not suffered a pecuniary loss.82 Letters

submitted to the Court by the victims confirm that the harm they have suffered is



76
     USSG § 2B1.1, Application Note 3(A)(i). The commentary first says that loss is the greater of
     the actual or intended loss. However, following Banks, even if the Court considers the
     commentary, loss is limited to only actual loss.
77
     USSG § 2B1.1, Application Note 3(A)(iii).
78
     Id.
79
     Banks, 55 F.4th at 253.
80
     Nasir, 17 F.4th at 471.
81
     U.S. v. Chandler, 104 F.4th 445, 455 (3d Cir. 2024) (quoting Mercado, 81 F.4th at 360). See
     also Nasir, 17 F.4th at 471 (otherwise reasonable interpretation of ambiguous Guideline
     entitled to controlling weight when it “in some way implicates [the Sentencing Commission’s]
     substantive expertise”).
82
     Arg. Tr. 5:17-19.

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emotional and is not readily measurable in money.83 The loss of trust in the medical

schools, which has impacted its ability to secure donors to their Anatomical Gift

Programs, also falls squarely within the commentary’s exclusion of reputational

harm from loss. As do costs the schools incurred “responding to search warrant[s]

and subpoenas.”84 To the extent the schools have had to expend resources responding

to civil lawsuits brought against them, those are expenses incurred responding to

allegations that the schools are liable for the harm caused by the offense conduct.85

Attributing that loss to Pauley would be inconsistent with the nature of those claims,

which is that the schools themselves share responsibility for the harm done to the

next of kin victims.86

        Rather than engaging with the commentary’s interpretation of § 2B1.1, the

Government skips ahead to the Application Notes which provide direction as to

calculating loss. That puts the cart before the horse; the Court must first determine


83
     See, e.g., supra nn.63-64 (victim stating that she has suffered “no financial harm but the
     psychological harm is at times unbearable”); supra n.64 (requesting restitution for distress and
     mental anguish); supra n.65 (victims unable to quantify dollar value of loss); Doc. 31, at 70
     (victim “urge[s] the court to consider the[] losses [suffered by the decedents’ next-of-kin] to
     be far greater than any financial loss that resulted from Jeremy Pauley’s actions”). The Court
     notes that certain victims claim that they have suffered lost wages and other financial harms
     flowing from their emotional distress. E.g., Doc. 31, at 52. However, such harms are too
     attenuated to be said to have been “reasonably foreseeable pecuniary harm.” USSG § 2B1.1,
     Application Note 3(A)(i).
84
     See Arg. Tr. 28:2-6 (Government arguing that expenses incurred by victims related to the
     criminal investigation constitutes loss); USSG § 2B1.1, Application Note 3(D)(ii) (excluding
     from loss “costs incurred by victims primarily to aid the government in the prosecution and
     criminal investigation of an offense).
85
     Cf. Arg. Tr. 28:6-8 (Government noting that the schools have had to respond to civil lawsuits).
86
     The Court emphasizes that the viability of such claims or the culpability of the schools and the
     businesses the schools contracted with are outside the scope of the matters before this Court.

                                                 18
there is a loss before attempting to calculate it.87 As the United States Court of

Appeals for the Tenth Circuit recently held in a similar case, “[t]he Government

cannot short-circuit the loss calculation by using the gain that resulted from the

offense without first attempting to prove actual loss in the first instance.”88

        The Court can, and will, consider the impact of Pauley’s offenses on the

victims at sentencing. However, “the proper way to punish a defendant who causes

non-pecuniary, but otherwise serious harm is to impose an upward departure,” not

by misconstruing or ignoring outright the Guideline’s text and commentary as the

Government (or defendant for that matter) sees fit.89

V.      CONCLUSION

        For the foregoing reasons, Pauley’s Motion is granted and his objection to the

imposition of an enhancement under USSG. § 2B1.1(b)(1) is sustained.

        An appropriate Order follows.

                                                     BY THE COURT:


                                                     s/ Matthew W. Brann
                                                     Matthew W. Brann
                                                     Chief United States District Judge
87
     See USSG § 2B1.1, Application Note 3(B) (“The court shall use the gain that resulted from the
     offense as an alternative measure of loss only if there is a loss but it cannot be reasonably
     determined.”) (emphasis added).
88
     U.S. v. Hess, 106 F.4th 1011, 1024 (10th Cir. 2024) (citations and quotations removed). See
     also id. at 1026 (holding, in another case centered on the improper sale of body parts, that
     “[t]hough we recognize that the next-of-kin victims have suffered emotional harms that may
     be redressable in another forum, the Sentencing Guidelines direct our focus to pecuniary
     harms”).
89
     U.S. v. Free, 839 F.3d 308, 320-21 (3d Cir. 2016) (emphasis in original).

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